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  UNITED STATES BANKRUPTCY COURT
  SOUTHERN DISTRICT OF NEW YORK

  ---------------------------------x
  -                                    :       Chapter 15
  In re:                               :
                                       :       Case No. 18-11094 (SCC)
  PERFORADORA ORO NEGRO, S. DE R.L. :          (Jointly Administered)
  DE C.V., et al.,                     :
                                       :
  Debtors in a Foreign Proceeding.     :
                                       :
  ---------------------------------x
  -
  GONZALO      GIL-WHITE, PERSONALLY   :       Adv. Pro. No. 19-01294
  AND IN HIS CAPACITY AS FOREIGN       :
  REPRESENTATIVE OF PERFORADORA        :
  ORO NEGRO, S. DE R.L. DE C.V. AND    :
  INTEGRADORA DE SERVICIOS             :
  PETROLEROS ORO NEGRO, S.A.P.I. DE    :
  C.V.,                                :
                                       :
                           Plaintiff,  :
                                       :
                     -against-         :
                                       :
  ALP ERCIL, et al.,                   :
                                       :
                           Defendants. :
  ---------------------------------x


                           MEMORANDUM OF LAW IN SUPPORT
      OF HIS MOTION TO DISMISS THE COMPLAINT WITH PREJUDICE
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         John Fredriksen                         , through his undersigned counsel, respectfully submits

this memorandum of law in support of his motion to dismiss the Adversary Complaint filed by

Gonzalo Gil-White, personally and in his former capacity as the foreign representative of



Pet



Complaint in its entirety, with prejudice, pursuant to Federal Rules of Civil Procedure 8(a),

12(b)(2), and 12(b)(6), as made applicable to this Adversary Proceeding by Federal Rules of

Bankruptcy Procedure 7008(a) and 7012(b).1

                                       PRELIMINARY STATEMENT

         John Fredriksen is a Norwegian-born businessman and Cyprus national who currently

                                                          . (Compl. ¶ 63.) Plaintiff Gonzalo Gil-White

               ,2                                                                            accuses Fredriksen of

leading a group,                         Hoc Group, that conspired to drive Oro Negro out of business

by engaging in tortious interference and other offenses.3 Yet despite anointing him the Ad Hoc

                                       does not even mention Fredriksen by name in the paragraphs that

make up the counts against him. (Id. ¶¶ 446-579.) And indeed, the substantive allegations made

against Fredriksen throughout the entire Complaint are scant                    so scant that they occupy just a


1

claims asserted in the Complaint under Article III of the U.S. Constitution and does not consent t
of such an order or judgment if it is later determined that the Court cannot do so consistent with Article III.
2
 Recent filings have indicated that Mr. Gil-White is no longer the foreign representative, having been replaced by
an individual named Fernando Perez Correa Camarena.
3
                                                         -
facing the same seventeen counts as the other individuals and entities within this group. (Compl. ¶¶ 19-67.)


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handful of its 579 paragraphs.                            allegation, made      n information and belief,

is that Fredriksen knew of or directed three companies under his supposed control                          Ship

                                          ,                                                   , and Seadrill

                            to carry out the actions alleged in this Complaint.       Id. ¶ 67.)4

          These                          [are]                                                  and, as such,

need not be credited. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (first alteration in original)

(citing Bell Atl. Corp. v. Twombly, 550 U.S. 544, 557 (2007)); see also Capital Bus. Credit LLC

v. Sharma (In re Sharma), Case No. 12-14472 (SCC), 2014 WL 5714494, at *10 (Bankr.

S.D.N.Y. Nov. 4, 2014) (Chapman, J.) (                                                              legations in

a complaint must be supported by more than mere conclusory statements                         Twombly, 550

U.S. at 555). And the remaining allegations leveled against Fredriksen are no better, as they

consist almost entirely of group pleading references that lump together the Ad Hoc Group

without distinguishing between its constituent members. Given all of the foregoing, the grounds

for dismissal set forth in the

                          are equally dispositive as to Fredriksen. Accordingly, Fredriksen joins and

incorporates these arguments to avoid unnecessary duplication and writes separately only to

highlight grounds for dismissal that are unique to the allegations directed at him.

          As a threshold matter, Plaintiff utterly fails to allege a prima facie showing of personal

jurisdiction in this Court over Fredriksen. Federal Rule of Bankruptcy Procedure 7004 mandates

that a plaintiff must allege facts from which to infer that                                   ion [would be]


4
    Although Fredriksen
                         id. at 2),
misconduct. (See, e.g., Compl. ¶¶ 454-57, 466-69 (not naming Fredriksen in counts brought solely against Seamex
Defendants).) Regardless, any claims against Seadrill must be dismissed for the reasons stated in the Seamex




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                                                                                                 See

generally                                                                      (In re Lehman Bros.

Holdings Inc.), 535 B.R. 608, 618 (Bankr. S.D.N.Y. 2015) (Chapman, J.). This involves a two-

part inquiry into whether (i)

(here, the United States as a whole), and (ii) the exercise of jurisdiction is reasonable in the

                 SPV Osus Ltd. v. UBS AG, 882 F.3d 333, 343 (2d Cir. 2018) (citation omitted).

        Plaintiff fails both tests. As to minimum contacts, there is no factual basis alleged in the

Complaint that would support that Fredriksen is subject to either general (i.e., all-purpose)

jurisdiction or specific (i.e., suit-related) jurisdiction.    eneral jurisdiction over an individual



Reich v. Lopez, 858 F.3d 55, 63 (2d Cir. 2017) (citation omitted), cert. denied, 138 S. Ct. 282

(2017). And here, Plaintiff concedes                                                           In the

Second Circuit, such an admission

The Complaint, however, focuses                                        alleged indirect ownership of

foreign companies      companies which themselves had insubstantial (and legally inadequate)

business ties to the United States. This falls well short of           high burden.

        Pla                                                       flawed. To make a prima facie

showing, Plaintiff must allege facts demonstrating that Fredriksen purposefully targeted the

relevant forum with suit-                         create[d] a substantial connection with it. Walden

v. Fiore, 571 U.S. 277, 284 (2014). Yet Plaintiff does not identify any suit-specific behavior that

Fredriksen personally directed at the United States. Instead, Plaintiff attempts to tie Fredriksen to

the conduct of three entities that he purportedly controlled: Seadrill, SFIL, and GHL. These

allegations are too conclusory and lacking in detail to support such an agency-based theory of



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specific jurisdiction. And regardless, the Seamex Defendants and Foreign Defendants have

amply demonstrated                        showing against the entities themselves is too weak to create

                  substantial connection.          See

                                                                                                           10-15;



Dismiss the Complaint, ECF No. 35                                             48-51.) In the end, it would be

unreasonable under the circumstances           and violate due process of law          to subject Fredriksen to

personal jurisdiction in this Court, especially given his attenuated and insignificant connections

to the United States. Principles of fair play and substantial justice demand that Fredriksen be

dismissed from this case under Federal Rule of Civil Procedure 12(b)(2).


                                      FACTUAL BACKGROUND5

        Many of the allegations relevant to the claims against Fredriksen are comprehensively

detailed in the motions to dismiss filed by the Ad Hoc Defendants, the Foreign Defendants (as to

jurisdiction-related issues), and the Seamex Defendants. (See AH Defs. Mem. 5-25; Foreign

Defs. Mem. 2-3; Seamex Defs. Mem. 3-9.) To avoid duplication, Fredriksen refers to and

incorporates these summaries. The section below focuses instead on the factual allegations that

most directly bear on (i) the substantive claims against Fredriksen and (ii) the question of

whether he is subject to the personal jurisdiction of this Court.




5



factual allegations solely for purposes of this motion, and only to the extent required by law. See Kolbasyuk v.
Capital Mgmt. Servs., LP, 918 F.3d 236, 239 (2d Cir. 2019) (enunciating standard for evaluating a motion to dismiss
under Rule 12(b)(6)); In re Terrorist Attacks on Sept. 11, 2001, 714 F.3d 659, 673 (2d Cir. 2013) (articulating
standard of review for motions to dismiss under Rule 12(b)(2)).


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       A.       Allegations Relevant to the Claims Against Fredriksen

       John Fredriksen is a Norwegian-born businessman and Cyprus national who currently

resides in London, England. (Compl. ¶ 63.) The Complaint alleges that he indirectly owns and

controls several foreign companies, including three    SFIL, GHL, and Seadrill     that are named

Defendants. (Id. ¶¶ 46-47, 57-62, 72-75.)

       SFIL is an international ship-owning company that maintains a principal place of

business in and was established under the laws of       Bermuda. (Id. ¶¶ 57-59.) Fredriksen, it is

claimed                                      through several trusts a Cyprus company, Hemen

                                                                          (Id. ¶ 58.) Seadrill is a

Bermuda-based shipping company whose shares trade on the New York Stock Exchange

            . (Id. ¶¶ 32, 72-73.) The Complaint alleges that Fredriksen is Chairman

Board of Directors and                                         the company through an indirect

interest in Hemen, which owns approximately 30% of Seadrill. (Id. ¶ 73.) GHL is a Cyprus

company that Fredriksen supposedly controls       again indirectly through several trusts. (Id. ¶¶

45-47.) These trusts allegedly own Greenwich Holdings Limited, a Cyprus company that

                  and                   (Id. ¶ 47.) Both SFIL and GHL were allegedly members of

the Ad Hoc Group. (Id. ¶ 166.)

       Fredriksen is accused of leading the Ad Hoc Group (id. ¶ 7), yet the Complaint does not

identify a single act that he personally took while serving in this apparent leadership role.

Instead, Plaintiff generally proffers                                      Fredriksen knew of or

directed                            the aforementioned Seadrill, SFIL and GHL         to carry out

the actions alleged in this Complaint     Id. ¶ 67.) The Complaint does not charge either SFIL or

GHL with taking part in collusive behavior aside from joining the Ad Hoc Group itself. (Id. ¶¶
                                                 5
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45-49, 57-62, 166.) By contrast, Plaintiff posits that Seadrill tortiously interfered with Oro

                    and reorganization, with the ostensible goal of                            five rigs

             turned over to Seamex                                            . (Id. ¶¶ 450-52.) The

Complaint, though, sheds no light on                               allegedly tortious acts Fredriksen

                      .   Id. ¶ 67.) As noted, Fredriksen has been named in the same seventeen

Counts as the other Ad-                                                                   se claims are

summarized in a table attached hereto as Appendix 1.

        B.                      Alleged Forum Contacts for Jurisdictional Purposes

        The Complaint generally contends as to personal jurisdiction that this Court may hale

 each Defendant [into this District]                                                         has or had

agents in this District, transacted business throughout the United States, including in this District;

availed itself of courts in this District in the context of the events giving rise to the claims herein;

[and] violated a right in the United States                              further asserts, again without

                                              a substantial part of the events giving rise to the claims

herein arose in this District    Id.)

        Regarding Fredriksen specifically, Plaintiff concedes that he is a Cyprus national who

resides in London, England. (Id. ¶ 63.) The Complaint nevertheless maintains that Fredriksen is

                                                  permanently and significantly invests or conducts

business in New York                    what it describes as his indirect ownership and control and

                          supervision of six corporate entities       five of which are foreign and

domiciled overseas. (Id. ¶¶ 65-66.)

Appendix 2 lists each company, denotes where it is domiciled, and summarizes the main

jurisdictional allegations that Plaintiff has directed at Fredriksen or the entity itself. Crucially, as

discussed below, Plaintiff does not contend that Fredriksen had any direct personal connection
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physical or otherwise to the United States during the relevant time period, nor does it assert

that Fredriksen purposefully directed any suit-related conduct towards this country.


                                         ARGUMENT

I.     THE COURT LACKS PERSONAL JURISDICTION OVER FREDRIKSEN

                                                       ersonal jurisdiction over a person or entity

                                      Penguin Grp. (USA) Inc. v. Am. Buddha, 609 F.3d 30, 34

(2d Cir. 2010). This means that Plaintiff                  prima facie showing that jurisdiction

        id. at 35-36 (citation omitted); accord Lehman, 535 B.R. at 618, and must meet this

burden for                                                              Charles Schwab Corp. v.

Bank of Am. Corp., 883 F.3d 68, 83 (2d Cir. 2018) (citation omitted). In judging whether this

threshold has been reached, courts

                  they                                                                       In re

Terrorist Attacks on Sept. 11, 2001, 714 F.3d 659, 673 (2d Cir. 2013) (citations omitted).

       For actions governed by Bankruptcy Rule 7004(f), the test is whether the exercise of

jurisdiction [would be] consistent with the Constitution and . . .

Lehman, 535 B.R. at 619 (quoting Fed. R. Bankr. P. 7004(f)). This inquiry has two elements:

whether (i) a defendant has certain minimum contacts                                         ) the

                                                                SPV Osus Ltd., 882 F.3d at 343

(citation omitted). T                 United States as a whole. See Lehman, 535 B.R. at 619.

       A.        Plaintiff Fails To Allege That Fredriksen
                 Had Sufficient Minimum Contacts With the United States

       To perform a minimum contacts analysis, a court                                        onal

                                              -

             -                      Bristol-Myers Squibb Co. v. Super. Ct. of Cal., 137 S. Ct.

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1773, 1780 (2017) (citing Goodyear Dunlop Tires Operations, S.A. v. Brown, 564 U.S. 915, 919

(2011)). Plaintiff has not met his burden with respect to either.

               1.      The Court Lacks General Jurisdiction Over Fredriksen

                                        ...

with the forum                             the subject matter of                   relates to those

contacts. SPV Osus Ltd., 882 F.3d at 343 (citation omitted). For an individual, the paradigm

forum for the exercise of general jurisdiction is the individual s domicile       Daimler AG v.

Bauman, 571 U.S. 117, 137 (2014) (quoting Goodyear, 564 U.S.                    eneral jurisdiction

over an individual

                                   Reich, 858 F.3d at 63 (citing Sonera Holding B.V. v. Cukurova

Holding A.S., 750 F.3d 221, 225 (2d Cir. 2014) (per curiam)).

       There is a strong presumption that domicile should be the dominant, if not sole, factor in

deciding whether general jurisdiction exists. Indeed, as the Second Circuit recently held, only in

                             business

                                         Reich, 858 F.3d at 63 (citing Daimler, 571 U.S. at 139

n.19). That is true for both corporations and individuals alike. Id. (refusing to find general

jurisdiction over an individual domiciled in Venezuela despite allegations that he had

 relationships with New York banks and law firms and own[ed] an apartment in New York

Gucci Am., Inc. v. Weixing Li, 768 F.3d 122, 141 (2d Cir. 2014) (applying Daimler to hold that

court did not have general jurisdiction over foreign bank based on activities of its branch offices

in the United States). Significantly, the Second Circuit                 ...         that meets its

criteria for exceptionalism. Reich, 858 F.3d at 63.

       This case cannot be the first. Because Fredriksen is domiciled in London, England

(Compl. ¶ 63), Plaintiff must identify truly extraordinary facts      i.e., facts which show that
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the defendant in his or her corporate capacity                                            , 714 F.3d 109 (2d Cir.

2013).7 Put simply, Reich and Daimler are dispositive here.8

         Further, the Complaint does not even plead adequate minimum contacts with respect to

the corporate entities themselves. For instance, Plaintiff does not allege that two of the six

companies with purported links to Fredriksen                Frontline Ltd. and Golden Ocean Group Ltd.

were domiciled in the United States; instead, he claims only that these foreign companies9 listed

their securities on the NYSE and NASDAQ, respectively. (Compl. ¶ 67.) Exchange listings,

though, are not even sufficient to confer personal jurisdiction over an entity, let alone its alleged

control persons. See, e.g., Sonera Holding B.V., 750 F.3d at 226 (no general jurisdiction where

defendant sold American Depositary Shares to London underwriter, which later offered them on

NYSE); Lopez v. Shopify, Inc., No. 16 Civ. 9761 (VEC) (AJP), 2017 WL 2229868, at *7

(S.D.N.Y. May 23, 2017) (deeming general jurisdiction improper                                                     [ed]




7
  See also In re Rhodia S.A. Sec. Litig., 531 F. Supp. 2d 527, 541-42 (S.D.N.Y. 2007) (dismissing foreign CEO and
                                         eing a corporation s control person of itself does not . . . merit personal
jurisdiction Time, Inc. v. Simpson, No. 02 Civ. 4917(MBM), 2003 WL 23018890, at *6 (S.D.N.Y. Dec. 22, 2003)
(                                             president, chairman and sole shareholder

8
  In Daimler, the Supreme Court questioned whether general jurisdiction should ever be predicated on principles of
agency. There, Justice Ginsburg, writing for the Court, observed that the agency theory enunciated by the Ninth
Circuit            stacks the deck                                          confer general jurisdiction whenever a
corporate pa                 -
                                              Goodyear Daimler, 571 U.S. at 136. Given this criticism, it is unclear
if agency is even a viable theory of general jurisdiction. See Sonera Holding B.V., 750 F.3d at 225 (observing in
dicta that Daimler expressed doubts as to the usefulness of an agency analysis
In re Aluminum Warehousing Antitrust Litig., 90 F. Supp. 3d 219, 227-28 (S.D.N.Y. 2015) (recognizing that agency
theory      at the very least been called into doubt by Daimler ).
9
  SEC filings confirm that Frontline Ltd. and Golden Ocean Group Ltd. are both domiciled in Bermuda, where they
are legally organized and maintain principal places of business. (See Ex. 1, at 21; Ex. 2, at 19.) It is appropriate for
the Court to take judicial notice of this information pursuant to Federal Rule of Evidence 201. See Powell v. Delta
Airlines, 145 F. Supp. 3d 189, 198 (E.D.N.Y. 2015) (judicially noticing place of incorporation); Royalty Network
Inc. v. Dishant.com, LLC, 638 F. Supp. 2d 410, 421 n.7 (S.D.N.Y. 2009) (taking judicial notice of
principal place of business, as documented in SEC filings, for purposes of resolving motion to dismiss).


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as undisputed that [defendant] . . . trade[d] on the [NYSE] , report and recommendation

adopted, No. 16-cv-9761 (VEC) (RWL), 2018 WL 481891 (S.D.N.Y. Jan. 17, 2018).10



these organizations Seadrill, SFIL, and Seamex                   are domiciled overseas. And as established

by other Defendants (in arguments Fredriksen joins), the Complaint fails to allege that these

Defendants engaged in activity that could subject any of them to general or specific jurisdiction.

(See Foreign Defs. Mem. 2-3, 6-17 (addressing jurisdiction for SFIL); Seamex Defs. Mem. 6-7,

44-52 (refuting jurisdictional allegations against Seadrill in relation to, inter alia, its ownership

interest in Seamex).) As for Quintana Energy Services, Inc., the Complaint pleads only that it is

 a Houston-based and NYSE-traded oil and gas company, without offering details about

                                       apart from an alleged indirect ownership stake. (Compl. ¶ 65.)

Taken as a whole, these allegations              even with respect to the corporations themselves                    are

flimsy at best and hardly rise to a level that could even appro

benchmark set by the Second Circuit in Reich. Accordingly
                                                                                                   11




10
  See also Miller v. Mercuria Energy Trading, Inc., 291 F. Supp. 3d 509, 523 n.5 (S.D.N.Y. 2018), aff'd, 774 F.
                                                    foreign corporations          substantial latitude to list their
securities on New York-based stock exchanges and to take the steps necessary to facilitate those listings without
subjecting themselves to personal jurisdiction (citation omitted)).
11
   Plaintiff also claims in the jurisdictional paragraph devoted to                                    -
advised Seadrill on the formation of Seamex. (Compl. ¶ 65.) But this allegation does not even support general
jurisdiction over Seadrill, much less a foreign-domiciled individual like Fredriksen. See, e.g., LaMonica v. CEVA
Grp. PLC (In re CIL Ltd.), 582 B.R. 46, 78 (Bankr. S.D.N.Y. 2018)                                        [t]he agent must
be primarily employed by the defendant and not engaged in simil                                                   Wiwa v.
Royal Dutch Petroleum Co., 226 F.3d 88, 95 (2d Cir. 2000))), amended on reconsideration, No. 13-11272-JLG,
2018 WL 3031094 (Bankr. S.D.N.Y. June 15, 2018)                                                                    -based
                                                      t it was not furnishing similar services for other clients.


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               2.       The Court Lacks Specific Jurisdiction Over Fredriksen

       To exercise specific jurisdiction over a defendant, the suit         aris[e] out of or relate[]

                                               Goodyear, 564 U.S. at 923-24 (citation omitted).

      touchstone

purposefully avail[ed] [himself] of the privilege of conducting activities within the forum . . .

                                                           Id. at 924 (citation omitted); see also

Calder v. Jones, 465 U.S. 783, 787 n.6, 789 (1984)                effects



effects there); Lehman, 535 B.R. at 620. This suit-                    must create a substantial

connection                    Walden, 571 U.S. at 284 (emphasis added); accord LaMonica v.

CEVA Grp. PLC (In re: CIL Ltd.), 582 B.R. 46, 75 (Bankr. S.D.N.Y. 2018), amended on

reconsideration, No. 13-11272-JLG, 2018 WL 3031094 (Bankr. S.D.N.Y. June 15, 2018)

is not enough that the alleged conduct has some connection to the forum; the alleged conduct

                                      . And crucially, this nexus must arise out of contacts the

defendant himself             Lehman, 535 B.R. at 620 (quoting Walden, 571 U.S. at 284).

       Plaintiff has not met and cannot meet         this test as to Fredriksen. As previously

explained, the Complaint does not identify Fredriksen himself as having purposefully directed

any conduct, tortious or otherwise, towards the United States. Instead, Plaintiff vaguely contends

that Fredriksen, as the supposed leader of the Ad Hoc Group (Compl. ¶ 7)

                                                                                (Compl. ¶ 67). For

the reasons set forth                                   Foreign                             Motions

(which Fredriksen joins), the               purportedly taken     even if credited for pleading

purposes are inadequate to confer specific jurisdiction on the organizations themselves. (See

Foreign Defs. Mem. 3-8, 10-15 (examining specific jurisdiction allegations against GHL and
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SFIL); Seamex Defs. Mem. 3-9, 48-51 (performing same analysis with regard to Seadrill).) This

                                             See Lehman

jurisdiction against defendant where allegations did not support jurisdiction over affiliates).

          But even if

the forum and these corporate entities (and they are not), this fact would not justify haling

Fredriksen into a U.S. court. Specific jurisdiction cannot be premised on opaque statements that

an individual                organizations to engage in tortious behavior     especially when there is

no well-pled, non-conclusory basis for asserting that the individual even knew about (much less

participated in) suit-related conduct directed at the United States. This lack of specificity is

dispositive. See, e.g.,                                Adjusters, LLC, 76 F. Supp. 3d 503, 510-11

(S.D.N.Y. 2015) (dismissing complaint against officials, including President and part-owner,

where specific jurisdiction allegations                              oversaw or authorized           illegal

policies                                                            factual detail      In re AstraZeneca

Sec. Litig., 559 F. Supp. 2d 453, 467 (S.D.N.Y. 2008) (rejecting personal jurisdiction showing

that was based partially on

                                     United States),                                 s. Ret. Sys. of Ill. v.

Astrazeneca PLC                                          ; In re Parmalat Secs. Litig., 376 F. Supp. 2d

449, 454-55 (S.D.N.Y. 2005) (holding that defendant was a board member and control person of

a company subject to U.S. jurisdiction was not enough to establish specific jurisdiction).

          B.       Exercising Jurisdiction Over Fredriksen Would Be Unreasonable

          Finally, even if the requisite minimum contacts could be established with respect to

Fredriksen (and they cannot), it would still be unreasonable               and therefore violate due

process        to exercise personal jurisdiction over him. See Lehman, 535 B.R. at 621. In assessing

reasonableness, courts consider, among other factors, the burden on the defendant, the interest of
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effective relief. See Asahi Metal Indus. Co. v. Super. Ct. of Cal., Solano Cty., 480 U.S. 102, 113

(1987); see also Tymoshenko v. Firtash, No. 11-CV-2794 (KMW), 2013 WL 1234943, at *5



                                                                          [s] to show in terms of

unreasonableness to                        Tymoshenko, 2013 WL 1234943, at *5 (citing Metro.

Life Ins. Co. v. Robertson-Ceco Corp., 84 F.3d 560, 569 (2d Cir. 1996)). As articulated by the

other moving Defendants (in arguments in which Fredriksen joins), these factors cut decisively

against Plaintiff. (See Foreign Defs. Mem. 15-18; Seamex Defs. Mem. 51-52.)

       First, litigating this overwhelmingly foreign-focused proceeding would impose

substantial burdens on the Defendants      including Fredriksen, a foreign national who resides

overseas. (Compl. ¶ 63.) Second, the United States has no legitimate interest in adjudicating a

dispute between Mexican companies regarding actions taken in Mexico in relation to contracts

governed by foreign law. (See Foreign Defs. Mem. 16-18.) And this lack of interest is especially

profound given that Plaintiff and many of the Defendants         like Fredriksen    are foreign and

have, at best, insubstantial ties to the United States. (Id.) And third, Plaintiff has the ability to

bring tort and other claims in a Mexican court and thus would not be prejudiced by the dismissal

of this lawsuit. (Id. at 17.) Together, these factors weigh heavily in favor of dismissal under Rule

12(b)(2). And that is especially true for Fredriksen given his attenuated and minimal (at best)

U.S. contacts, which reside decidedly


II.    THE COMPLAINT SHOULD BE DISMISSED ON FORUM NON
       CONVENIENS GROUNDS AND UNDER THE ACT OF STATE DOCTRINE

       As detailed in Section I of the Ad Hoc                          see AH Defs. Mem. 27-41),

in which Fredriksen joins, this case is quintessentially foreign in character. Brought on behalf of

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Mexican companies by a Mexican citizen with no ties to New York, the Complaint stems from

acts allegedly performed in Mexico by private citizens and Mexican government officials, in

relation to contracts governed by foreign laws. Accordingly, this action should be dismissed on

forum non conveniens grounds. In addition, for the reasons outlined in Section II of the Ad Hoc

                       see id. at 41-53), all of Plaintiff   claims against Fredriksen are barred by

the act of state doctrine because they would require this Court to declare invalid numerous

official acts taken by the Mexican government within its own territory. Fredriksen joins this

                                                    l.


III.   IN ALL EVENTS, PLAINTIFF HAS FAILED TO STATE A CLAIM UPON
       WHICH RELIEF MAY BE GRANTED UNDER FED. R. CIV. P. 12(B)(6)

       A.        As to All Counts, Plaintiff Has Failed To Meet
                 the Pleading Requirements of Rule 8(a) as to Fredriksen

       Under Rule 8(a) of the Federal Rules of Civil Procedure, a complaint must

defendant fair notice of what the . . . [          ]

Bell Atl. Corp. v. Twombly, 550 U.S. 544, 545 (2007) (citation omitted). This means that a

plaintiff must     provide a plausible factual basis to distinguish the conduct of each of the

defendants, and cannot force the various defendants to guess at the nature of [his] claims.

Boehm v. SportsMem, LLC, No. 18-CV-556 (JMF), 2019 WL 3239242, at *2 (S.D.N.Y. July 18,

2019) (citation omitted). T

be enough to raise a right of relief above the speculative l

                                                                               In re Lehman Bros.

Holdings Inc., 602 B.R. 564, 589 (Bankr. S.D.N.Y. 2019) (Chapman, J.) (citation omitted). In

evaluating a complaint against t




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allegation[s].   Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (first alteration in original) (citations

omitted); accord Lehman, 602 B.R. at 589. Likewise,



Patrico v. Voya Fin., Inc., No. 16 Civ. 7070 (LGS), 2017 WL 2684065, at *5 (S.D.N.Y. June 20,

2017) (citation omitted).

         Disregarding these principles, Plaintiff offers only the most skeletal allegations against



        the Ad-Hoc Group. (Compl. ¶ 7.) Yet the only claimed support for this statement is the

singular contention              n information and belief       that Fredriksen knew of or directed

Seadrill, SFIL and GHL to carry out the actions alleged in this Complaint.            mpl. ¶ 67.) No

details are provided about the conduct that Fredriksen directed, how these directions were carried



                                                       ions being performed by these separate legal

entities. Speculative allegations like these

Iqbal, 556 U.S. at 679, and thus                        []

conceivable to plausible Twombly, 550 U.S. at 570. And Plaintiff cannot overcome this defect

by including Fredriksen within

    -               Rule 8(a) demands more. See, e.g., TheECheck.com, LLC v. NEMC Fin. Servs.

Grp. Inc., No. 16-cv-8722 (PKC), 2017 WL 2627912, at *2 (S.D.N.Y. June 16, 2017) (holding

that plaintiff had failed to plead actionable claims of conspiracy against individual defendants

                                                                              d[id] not differentiate




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                                   ). For these reasons alone, all Counts against Fredriksen should be

dismissed.12

        B.       Plaintiff Fails To State a Claim Against Fredriksen With
                 Regard to All of the Tort Claims Alleged in the Complaint

        The Complaint, as noted, does not accuse Fredriksen of tortious misconduct separate and

apart from his alleged participation in the purportedly collusive activities of the Ad Hoc Group.

(See Compl. ¶¶ 466-579.) As detailed in Sections III and IV of the Ad

all of the tort claims asserted in the Complaint (i) are governed by the laws of Mexico, (ii) fail to

state claims under the laws of Mexico, and (iii) would be subject to dismissal even if New York

law governed. (See AH Defs. Mem. 53-66 (examining Mexican law); id. at 66-83 (examining

New York law).) These arguments apply equally to Fredriks                                                          -

                                                          See Compl. at 1.) Accordingly, Fredriksen joins

and incorporates b                                                                            .13

        C.       Counts 9, 10, and 11 of the Complaint
                 Should Be Dismissed as Against Fredriksen

        Counts 9, 10, and 11 are claims brought by Plaintiff Gil-White for injuries he claims to

                                                                                                            As set
12
   In addition, the Complaint does not even begin to plead facts that would permit the Court to hold Fredriksen
vicariously liable for any alleged misconduct by SFIL, Seadrill, or GHL. In this regard, it is well-established that
conclusory allegations of control, under an alter ego theory or otherwise, cannot serve as the factual predicate for
imputing the wrongful conduct of a corporate entity to an individual. See, e.g., Alkholi v. Macklowe, No. 17 Civ. 16
(DAB), 2017 WL 6804076, at *1, *4 (S.D.N.Y. Dec. 22, 2017) (granting motion to dismiss and refusing to impute

                                                                       Apex Mar. Co. v. OHM Enters., Inc.,
No. 10 Civ. 8119 (SAS), 2011 WL 1226377, at *4 (S.D.N.Y. Mar. 31, 2011)
                                             ants dominated and controlled corporations).
13

                                                                                   See AH Defs. Mem. 61 (citation
omitted).) As noted in Part III(A), supra,
imposition of liability under any theory. And this conclusion applies with particular force under Mexican law, which
 generally does not permit the piercing of the corporate veil Cedillo v. Medrano Campos, No. DR-14-CV-057-
AM-VRG, 2014 WL 12479202, at *5 (W.D. Tex. Dec. 19, 2014), report and recommendation adopted sub nom.
Cedillo v. Campos, No. DR-14-CV-057-AM-VRG, 2015 WL 11438111 (W.D. Tex. Sept. 30, 2015).


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                                                                                             See AH

Defs. Mem. 83-86.) Moreover, Gil-                              former foreign representative, cannot

                              See AH Defs. Mem

arguments for dismissal here as well.

       D.      Count 18 of the Complaint, For Alleged Violations of
               11 U.S.C. § 1520(a)(1) and the Comity Order, Fails to State a Claim

       In Count 18, Plaintiff repackages its tortious interference claims as a claim for a stay

violation. More specifically, the Complaint alleges that the Ad Hoc Group

                                                           defied the automatic stay, as applicable

                                                                                            ) and 11

U.S.C. § 1520, and two orders of the Mexican concurso court that were granted comity under

                                                               (See Compl. ¶¶ 551-65.) Count 18,

however, should be dismissed as to Fredriksen because it fails to allege any conduct by him;

indeed, Fredriksen is not mentioned in relation to this Count at all. Further, Count 18 is fatally

infirm for at least three additional and equally dispositive    reasons:

       First, as established at Section IV

                  SRO Defs.                            supposed rights to possess the Rigs are not

                                                                    . (SRO Defs. Mem. 33.) This

means that such rights, if they exist at all, are not within the scope of either the automatic stay or

the Comity Order. See 11 U.S.C. §

                                                                                          see also 11

U.S.C. § 1502(8) (defining phrase). The situs of these possessory rights is either the situs of the




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Rigs themselves (Mexico) or, alternatively, the situs of the Singapore Rig Owners (Singapore); it

is plainly not in the United States.14

         Second, Count 18 fails to the extent it is predicated on the Mexican criminal proceedings.

As the Singapore Rig Owners explain (SRO Defs. Mem. 33-39), foreign criminal proceedings

are beyond the scope of the automatic stay. See 11 U.S.C. §

a police or regulatory act of a governmental unit, including a criminal action or proceeding,

                         ; id. § 362(b), (b)                                                              . . . of the

commencement or continuation of a criminal action or proceeding

         Third, Count 18 should be dismissed because damages under 11 U.S.C. § 362(k) are not

available here.15 The Oro Negro debtors are corporate entities, not natural persons. Section

                                                  individual

not corporate debtors. 11 U.S.C. § 362(k)(1) (emphasis added); see also Maritime Asbestosis

Legal Clinic v. LTV Steel Co. (In re Chateaugay Corp.), 920 F.2d 183, 186-87 (2d Cir. 1990)

                                                                                                        . . . only for

violating a stay as to debtors who are natural persons.                In re Cinque Terre Fin. Grp. Ltd., No.

16-11086 (JLG), 2017 WL 4843738, at *14 (Bankr. S.D.N.Y. Oct. 24, 2017) (Section 362(k)

 applies only to individual debtors




14
                             In re Octaviar Administration Pty Ltd, 511 B.R. 361 (Bankr. S.D.N.Y. 2014) (Chapman,
J.) does not compel a different result. In Octaviar                                                                  ne
the situs of lawsuits brought by foreign representatives on behalf of an Australian debtor. Id. at 371. The Court ruled
that under this test, the situs of the lawsuits (which were pending in U.S. courts) was the United States. The suits
were brought under U.S. law against U.S. defendants to recover payments made to them in the United States, and
the courts where the actions were filed had both personal and subject matter jurisdiction. See id. at 372. Unlike
Octaviar, this dispute involves conduct that indisputably occurred outside the United States. Moreover, this Court
lacks personal jurisdiction over Fredriksen, unlike the defendants in Octaviar. See Argument, Part I, supra.
15
 Section 362(k) was previously numbered as 362(h) and was renumbered by the Bankruptcy Abuse Prevention and
Consumer Protection Act of 2005, Pub. L. No. 109-8, § 305, 119 Stat. 23, 79.


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problem, because the injury complained of in Count 18 is injury to the Oro Negro corporate

debtors, not Plaintiff in his personal capacity.16

         E.       This Adversary Proceeding Should Be
                  Dismissed in Full Because It Is Inconsistent With Chapter 15

         Section                                                                           Adversary Proceeding

is inconsistent with Chapter 15 and, thus, should be dismissed. (See AH Defs. Mem. 86-90.)

Fredriksen joins in these arguments.

                                                 CONCLUSION

         For all of the foregoing reasons, Fredriksen respectfully requests that the Complaint be

dismissed in its entirety as against him, with prejudice.

Dated: New York, New York
       October 11, 2019

                                                         Respectfully submitted,

                                                         /s/ Jay B. Kasner
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16
   The Complaint includes three counts in which Plaintiff purports to assert claims in his individual capacity (Counts
9-11), but those claims are not at issue in Count 18. Even if they were, however, they would not satisfy Section
362(k) because Plaintiff does not claim in those counts to have been injured in his capacity as a creditor of the
estate; indeed, he does not plead creditor status at all, and thus is not within the zone of interests protected by the
statute. See In re Ampal-American Isr. Corp., 502 B.R. 361, 371-72 (Bankr. S.D.N.Y. 2013) (individual movants
lacked standing to assert damages claim under Section 362(k) where they had failed to allege creditor status, and
where estate itself had claim arising from same conduct).


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                                     APPENDIX 1


    Count(s)         Alleged Legal        Description
                     Basis

    1, 3             New York Law         Tortiously
                                          contractual and business relations with
                                          Pemex

    5, 6             Mexican Law          Intentionally or negligently interfering with

                                          relations with Pemex

    7, 8             Mexican Law
                                          reorganization efforts

    9, 10, 11        New York (Count      Abuse of process relating to the Mexican
                     9) and Mexican       criminal investigations, purportedly brought
                     (Counts 10, 11)      by Plaintiff on behalf of Oro Negro and in
                     Law                  his personal capacity

    13, 14           New York Law
                                          contractual and business relations with the
                                          Singapore Rig Owners

    15, 16           Mexican Law          Intentionally or negligently interfering with

                                          relations with the Singapore Rig Owners

    18               11 U.S.C. §
                     1520(a)(1), Comity   order granting comity to certain orders of the
                     Order                Mexican concurso court

    19, 20, 21       New York Law         Catch-all claims for prima facie tort,
                                          negligence, and unjust enrichment under
                                          New York law
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                                             APPENDIX 2


                                   Main Jurisdictional Allegations

Entity             Domicile          Allegations

Quintana Energy    Texas             Fredriksen
Services, Inc.     (Compl. ¶ 65)                  -based and NYSE-
                                     (Compl. ¶ 65.)

Frontline Ltd.     Bermuda           Fredriksen
                   (Ex. 1)
                                     (Compl. ¶ 65.)

Seadrill           Bermuda
                   (Compl. ¶ 72)     Seadrill, which trades on th                      5.)

                                     York-            Id. ¶ 74.)

                                                                                               Id.)
                                                          iness in the United States through Seadrill
                                                                                    -based subsidiaries,
                                     and through Sevan Drilling, Ltd., a Seadrill subsidiary that
                                                                                          Id.)
                                                           Seadrill commenced a Chapter 11
                                     proceeding in the U.S. Bankruptcy Court for the Southern District
                                                     Id. ¶ 75.)

SFIL               Bermuda
                   (Compl. ¶ 57)                                            mpl. ¶ 65.)
                                     SFIL allegedly engaged a New York-based external auditor,
                                     previously had a New York-based board member, and has one
                                     board member in Connecticut. (Id. ¶ 60.)

Golden Ocean       Bermuda                                                     pproximately 35% of
Group Limited      (Ex. 2)           Golden Ocean Group Limited . . ., a shipping company that trades
                                     on the NASDAQ.              5.)

Seamex             Bermuda                                               -owns Seamex 50/50 with
                                     Fintech Investments.              5.)
                                     Seamex                             -                             Id.)
                                                    -based law firm[] advised Seadrill and Fintech
                                     Investments in connection with negotiating and establishing
                                               Id.)
